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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr                             Case No. 19-mc-0145 (TSC)

THIS DOCUMENT RELATES TO:

Nelson v. Barr, et al., 20-cv-557


    PLAINTIFF KEITH NELSON’S NOTICE OF RULING AND REQUEST TO CLARIFY
              AND/OR AMEND ORDER AND ISSUE NEW INJUNCTION

        Plaintiff Keith Nelson, by and through counsel, submits this notice of ruling by the D.C.

Circuit and requests the relief described below.

        By Memorandum and Order dated August 27, 2020 (Dist. Ct. Dkt. No. 213, the

“Order”), this Court granted (in part) Mr. Nelson’s cross-motion for summary judgment on

Count XI of the Amended Complaint.           This Court held that “the government’s use of

pentobarbital under the Protocol is contrary to law because it violates the” Food, Drug, and

Cosmetic Act (“FDCA”), (Order at 1) and “enjoin[ed] Defendants from executing Keith Nelson

until they have met the requirements of the FDCA.” Id. at 13.

        On the same day (yesterday), the Government filed an emergency motion in the D.C.

Circuit asking that court to stay or vacate the Order. By per curiam Order dated August 27,

2020, a three-judge Panel of the D.C. Circuit granted the Government’s motion “that the

permanent injunction be vacated.” Case No. 20-5260, Doc. No. 1858770. The D.C. Circuit

granted the motion based on its finding that the Order “fails to comply with Fed. R. Civ. P.

65(d) in that, inter alia, there are insufficient findings and conclusions that irreparable injury

will result from the statutory violation found by the district court.” Id. The D.C. Circuit also



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directed the Clerk “to issue the mandate forthwith to the district court.” Id. The formal mandate

has now issued and has been entered. Case No. 20-5260, Doc. No. 1858772.

       While Mr. Nelson does not wish to presume what this Court was thinking in issuing the

Order, it seems self-evident and implicit in the Order that Mr. Nelson would suffer irreparable

injury by being executed illegally by using drugs that do not comply with the FDCA. After all,

as the Court duly noted, “the ‘core’ legislative purpose of the FDCA is to ensure that a ‘drug’ is

‘safe and effective for its intended use,’” “[v]iolations of the FDCA carry ‘the risk that the

drug[s] will not function as intended,’” and “a lethal injection drug that does not function as

intended may ‘result in conscious suffocation, pain, and cardiac arrest.” Order at 6-7 (citations

omitted).

       Moreover, the compounded drug that the Government will use to execute Mr. Nelson is

not approved by FDA and its use, as this Court has ruled, would be in violation of law, i.e., the

labeling requirements, approval requirements and manufacturing and distribution requirements

of the FDCA. Id. at 9. These requirements, among other things, require that approved drugs

have expiration dates established by scientific stability studies to avoid the risks of sub-potent

drugs. This is no mere academic exercise and has real world implications to Mr. Nelson’s

execution because the Administrative Record here lacks a completed stability study or data that

would support the Government’s claim that their compounded drugs have a one-year shelf life.

Indeed, the limited potency testing in the Administrative Record – far from supporting stability

for one-year – demonstrates that after only a couple of months the compounded drug was not

stable and sub-potent when stored at elevated temperatures and at room temperature it was




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already at the low end of acceptable potency with potency being lost on a monthly basis. 1 Mr.

Nelson faces irreparable injury if executed with the administration of a drug both without the

benefit of prescription (and thus physician involvement) and without the benefit of using an

approved (not compounded) drug – and the labeling, approval and manufacturing quality

requirements that apply to approved drugs – including, among other things, a scientifically

established expiration date.

       By flagrantly violating the FDCA, the Government has admittedly failed to satisfy their

“responsibility to comply with federal statutes enacted to ensure that the drugs operate

humanely.” Id. at 8.

       In any event, time is of the essence. Mr. Nelson is scheduled to be executed today at

4:00 pm. Accordingly, Mr. Nelson respectfully requests that this Court, as expeditiously as

possible: (1) clarify or amend the Order pursuant to Fed. R. Civ. P. 60(a) (or issue a new order)

to include specific findings and conclusions concerning the irreparable injury that will result

from the statutory violation found by this Court; and (2) enjoin the Government from executing

Mr. Nelson until they have met the requirements of the FDCA.




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  The only testing of compounded drug under any storage conditions that the Government has
referenced in the Administrative Record took place no more than two or three months after any
stability work may have begun in or about May 2019 (i) July 1, 2019 room temperature potency
testing with a low end passing result (95.5% in passing potency range of 92% to 108%) (AR
1011), (ii) July 10, 2019 elevated temperature potency testing with failing potency result (90.8%
in a passing potency range of 92% to 108%) (AR 1013), (iii) August 21, 2019 room temperature
potency testing showing a reduced potency from the July test (94.6% as compared with the
earlier 95.5% and in a passing potency range of 92% to 108%) (AR 1014), and (iv) August 21,
2019 elevated temperature potency testing with a very low end passing result (92.2% in passing
potency range of 92% to 108%) (AR 1015).



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Dated: August 28, 2020       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2020, I caused a true and correct copy of the foregoing

to be served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s

August 20, 2019 Order, below is a list of all counsel of record. The names marked with an

asterisk (*) have no email provided on the docket and are no longer with the identified firms.

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